Case 1:19-cr-00810-KMW Document 28

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
-against
ARNOLD LEVINE,
Defendant.
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KIMBA M. WOOD, District Judge:

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ORDER
19 CR 810 (KMW)

Due to a conflict with the Court’s calendar, the conference currently scheduled for

Wednesday, January 20, 2021, is adjourned to Monday, January 25, 2021, at 11:00 a.m.

SO ORDERED.

Dated: New York, New York
January 12, 2021

 

KIMBA M. WOOD
UNITED STATES DISTRICT JUDGE
